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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE
 --------------------------------------------------------------------- X

  LISHAY LAVI, NOACH NEWMAN, ADIN GESS,
  MAYA PARIZER, NATALIE SANANDAJI, YONI
  DILLER, HAGAR ALMOG, DAVID BROMBERG,
  LIOR BAR OR, and ARIEL EIN-GAL,
                                                                           Civil Case No.
                                              Plaintiffs,
                                                                           24-cv-00312 (RGA)
                        -against-

  UNRWA USA NATIONAL COMMITTEE, INC.,

                                               Defendant.
 --------------------------------------------------------------------- X




      DEFENDANT UNRWA USA NATIONAL COMMITTEE, INC.’s REPLY BRIEF
             IN SUPPORT OF ITS MOTION TO DISMISS PURSUANT
              TO FED. R. CIV. P. 12(b)(6) and FED R. CIV. P 12(b)(1)
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                                         INTRODUCTION

        Plaintiffs’ opposition only underscores the infirmity of their claims. Rather than explain

 how they satisfy Twitter v. Taamneh—which requires UNRWA USA to have “consciously,

 voluntarily, and culpably participat[ed]” in the October 7 attacks for Anti-Terrorism Act (“ATA”)

 aiding and abetting liability to attach, 598 U.S. 471, 493, 495 (2023)—Plaintiffs ignore that case

 entirely, and rely on case law that was vacated in light of Twitter a full month prior to Plaintiffs

 filing their opposition. Plaintiffs’ attempt to rewrite the Complaint in opposition cannot save them

 from this fatal legal defect. There is, quite simply, nothing in the Complaint that satisfies any part

 of the test to hold UNRWA USA liable under an aiding and abetting or conspiracy theory.

 Plaintiffs’ Alien Tort Statute (“ATS”) claim is equally meritless. Not only do they fail to plead

 that UNRWA USA provided “purposeful” or “knowing” assistance to the October 7 attack,

 Plaintiffs fail to identify a “specific, universal and obligatory” norm that UNRWA USA violated

 by distributing aid to UNRWA. As such, this Court lacks jurisdiction over the ATS claim.

        Unable to contend with the judicially noticeable record showing just how meritless

 Plaintiffs’ claims are, given that UNRWA’s operations were audited and validated by the US

 Government, Plaintiffs invite the Court to disregard that record, contrary to the Federal Rules of

 Evidence. With or without that record, the Complaint should be dismissed in its entirety.

                                            ARGUMENT

            I.      Plaintiffs’ ATA Aiding and Abetting Claims Fail

                    A. Plaintiffs Do not Plead “Knowing and Substantial Assistance”

        Plaintiffs ignore Twitter’s requirement that ATA aiding and abetting liability requires that

 UNRWA USA “consciously and culpably participated in [the October 7 attack].” 598 U.S. at 497.

 Instead, they rely on Atchley v. AstraZeneca UK Ltd., 22 F.4th 204 (D.C. Cir. 2022)—a decision


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 vacated in light of Twitter, see 2024 U.S. LEXIS 2785 (June 24, 2024)—for the proposition that

 ATA aiding and abetting liability does not require specific intent, Opp. 20, 23, overlooking

 Twitter’s requirement that a defendant must have “wished to bring about [the terrorist attack], or

 sought by their action to made it succeed.” Twitter, 598 U.S. at 490. They assert that the ATA

 provides “broad relief,” Opp. 8, but ignore Twitter’s admonition that aiding-and abetting liability

 be “cabin[ed] . . . to cases of truly culpable conduct.” 598 U.S. at 489.

         Plaintiffs wrongly assert that they need only establish UNRWA USA’s “general

 awareness” that its aid was being used to benefit Hamas, Opp. 12, ignoring that “knowing and

 substantial assistance” is a separate element of aiding and abetting that Twitter held requires an

 additional scienter showing—namely, that the defendant provided aid “with the intent of

 facilitating” the attack that injured plaintiffs. Id. at 490, 503-04; see also, id. at 506 (plaintiffs must

 “allege that defendants intentionally provided substantial aid to the [] attack or otherwise

 consciously participated” in it). The Complaint does not—and could not—allege facts to support

 the inference that UNRWA USA intended to facilitate the October 7 attack. The theory of

 culpability advanced by Plaintiffs—that UNRWA USA aided UNRWA despite knowing that

 Hamas derived a benefit from UNRWA’s humanitarian operations—is just a feebler version of the

 one rejected in Twitter. In Twitter, the Court held that even though defendants Google and Twitter

 knew that ISIS was benefiting from their platforms, “ISIS’ ability to benefit from these platforms

 was merely incidental to defendants’ services and general business models,” and “not attributable

 to any culpable conduct of defendants directed toward ISIS.” Id. at 504-505. Here, Plaintiffs’

 theory of culpability is even more tenuous, as the Complaint does not even allege that Hamas

 derived a benefit from UNRWA USA’s specific contributions.1


 1
   Plaintiffs’ attempt to establish culpability based on the supposed foreseeability of Hamas
 benefiting from aid delivered to UNRWA is equally misplaced. Opp. 12. Foreseeability is not a
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        In fact, Plaintiffs do not allege that any aid from UNRWA USA actually flowed to Hamas,

 directly or otherwise. Rather than articulate a “concrete nexus” between UNRWA USA’s

 assistance and the October 7 attack as required by Twitter, id. at 501, Plaintiffs argue that none is

 required—that “‘if a plaintiff plausibly alleges the general awareness element, she does not need

 to also allege the [Foreign Terrorist Organization (“FTO”)] actually received the funds.’” Opp. 12

 (quoting Honickman v. BLOM Bank SAL, 6 F.4th 487, 500 (2d Cir. 2021)). Not only is this

 argument untenable after Twitter,2 it is contrary to the rule that a plaintiff who brings an aiding-

 and-abetting claim based on the provision of aid to an intermediary with “legitimate operations”

 must plausibly allege actual receipt by the FTO. See MTD 17-18. Honickman, whose plaintiffs

 alleged that the defendant bank directly aided entities whose sole purpose was handling funds for

 Hamas and Hezbollah, see 6 F.4th at 491-93, did not implicate this rule.

        Plaintiffs’ argument that UNRWA USA and UNRWA “are almost indistinguishable”

 (Opp. 11-12) is unsupported by the facts, and legally irrelevant. UNRWA is an international

 humanitarian agency operating under the auspices of the UN General Assembly; UNRWA USA

 is a private charity whose gifts accounted for less than a third of 1% of UNRWA’s operating

 budget.3 Apart from a “freelance” videographer that UNRWA USA enlisted to make some



 substitute for pleading knowing and substantial assistance. Twitter confirmed Halberstam’s
 holding that “people who aid and abet a tort can be held liable for other torts that were a foreseeable
 risk of the intended tort.” Id. at 496 (cleaned up, emphasis added); id. at 495-96 (explaining that
 Halberstam was held liable for her partner’s killing of a burglary victim because that killing was
 a foreseeable consequence of the burglary that she aided and abetted). Here, Plaintiffs have failed
 to make the threshold showing that UNRWA USA aided and abetted any “intended tort.”
 2
   In addition to holding that “knowing and substantial assistance” requires a different showing
 from general awareness, 598 U.S. at 490, 503-04, Twitter clarified that secondary liability will
 only attach to a defendant who actually “aided and abetted . . . in the commission of [an act of
 international terrorism].” Id. at 495 (emphasis added). UNRWA USA cannot have aided and
 abetted Hamas in the commission of the October 7 attack if its aid never reached Hamas.
 3
   The Complaint alleges that UNRWA USA contributed between three and five million dollars per
 year from 2020 to 2022. Compl. ¶ 121. By comparison, in 2023 alone, UNRWA received just shy
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 fundraising videos and a single UNRWA USA Board Member who worked for UNRWA nearly

 two decades ago, Compl. ¶¶ 42, 118-20, there is no allegation of staff overlap. Regardless, no

 degree of association between UNRWA USA and UNRWA can save Plaintiffs’ claim because

 neither UNRWA USA nor UNRWA is alleged to have “consciously, voluntarily, and culpably

 participate[d] in or support[ed]” the October 7 attack. Twitter, 598 U.S. at 505. Plaintiffs’ failure

 to plead that UNRWA USA provided knowing and substantial assistance to the October 7 attack

 (Halberstam’s third element) requires dismissal of their aiding and abetting claims. Halberstam v.

 Welch, 705 F. 2d 472 (D.C. Cir. 1983).

                    B. Plaintiffs Do Not Plead General Awareness

        Although the Court need not reach Halberstam’s second element, Plaintiffs have also failed

 to plead general awareness. To plead this element Plaintiffs must show both (1) that UNRWA was

 so intertwined with Hamas’s violent activities that one could reasonably infer that UNRWA USA

 was “generally aware of its role in unlawful activities from which the attacks were foreseeable,”

 and (2) that UNRWA USA was actually aware of this connection at the time it provided the

 assistance. Honickman, 6 F.4th at 501; see also Bernhardt v. Islamic Republic of Iran, 47 F.4th

 856, 867-68 (D.C. Cir. 2022). Plaintiffs fail on both counts.4

        Plaintiffs have not only failed to factually plead intertwinement, but have pled facts

 undermining their theory, including that UNRWA terminated staff members who participated in

 the October 7 attack or attained leadership positions in Hamas, and that militant use of UNRWA


 of $1.5 billion in donor contributions. UNRWA, 2023 Confirmed Pledges towards UNRWA's
 Programmes (D.I. 23-5).
 4
   Plaintiffs’ discussion of the level of entanglement between UNRWA USA and UNRWA is both
 factually unsupported, see supra Section I.A., and legally irrelevant to step one of the “general
 awareness” inquiry, which is solely concerned with the level of entanglement between the
 intermediary (UNRWA) and the FTO (Hamas). Their attempt to distinguish the bank-intermediary
 cases, Opp. 11-12—i.e., by arguing that they do not apply due to the “closeness between” UNRWA
 USA and UNRWA, id.—fails for the same reason.
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 installations was “unauthorized.” Compl. ¶ 80.5 Plaintiffs attempt to rewrite the Complaint by

 claiming in opposition that UNRWA “allowed” Hamas to control its employee union, “permitted

 Hamas to use” its facilities, and “enable[d] Hamas’s various activities.” Opp. 10, 17. But “it is

 axiomatic that the complaint may not be amended by the briefs in opposition to a motion to

 dismiss.” Commonwealth of Pa. ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir.

 1988).6

           Having failed to allege facts showing intertwinement, Plaintiffs posit the existence of

 unknown “scandals” that might emerge through discovery. Opp. 17-18. But Plaintiffs are not

 entitled to discovery to plead their claims. Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (Rule 8

 “does not unlock the doors of discovery for a plaintiff armed with nothing more than

 conclusions.”). To survive a motion to dismiss, Plaintiffs must plead “enough facts to raise a

 reasonable expectation that discovery will reveal evidence of the necessary elements,” Phillips v.

 Cnty. of Allegheny, 515 F.3d 224, 234 (3d Cir. 2008) (internal quotation marks omitted)—in other

 words, evidence that UNRWA and Hamas are “so closely intertwined . . . that they were effectively

 the same entity.” Bernhardt, 47 F.4th at 870. Plaintiffs offer nothing, beyond empty speculation,

 to establish such an expectation.

           In any event, because the general awareness inquiry is limited to what the defendant knew

 “at the time” it provided the services that aided the attack, MTD 23, and because the Complaint

 only charged UNRWA USA with knowledge of publicly available information, see, e.g., Compl.


 5
   Furthermore, Plaintiffs’ Complaint relies on sources showing that UNRWA’s own inspectors
 exposed militants’ misuse of its facilities and Hamas’s tunneling under its properties, and
 highlights the relative rarity of UNRWA staff members alleged to have breached their neutrality
 obligations and the infrequency of UNRWA graduates joining Hamas. MTD 22-25.
 6
   Plaintiffs’ opposition also mischaracterizes the Complaint by claiming that the US halted its
 UNRWA funding due to “substantiated allegations of UNRWA’s involvement in the October 7
 attacks.” Opp. 19. Neither the Complaint nor the documents cited therein ever assert that these
 allegations were substantiated.
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 ¶¶ 112-13, Plaintiffs cannot rely on information that emerged post-October 7 to satisfy their

 burden—including the news articles cited in Plaintiffs’ opposition. See Opp. 15, n.5.7

                    C. Plaintiffs Do Not Allege That UNRWA Assisted the October 7 Attack

        Although the Court need not reach the first Halberstam factor, Plaintiffs have also failed

 to plead that the party UNRWA USA aided, here UNRWA, performed a “wrongful act that

 cause[d] [Plaintiffs’] injury.” Halberstam, 705 F.2d at 477 (emphasis added). Plaintiffs did not

 allege that UNRWA gave moral or material support for the October 7 attack, that UNRWA had

 advance warning of the attack, or that it had knowledge that any staff member planned on

 participating in a militant operation. Plaintiffs acknowledge that the few UNRWA employees

 accused of participating in the attack were immediately terminated. They do not allege facts in the

 Complaint that would render UNRWA blameworthy for the October 7 attack under any legal

 theory that would support their claims. MTD 26-28. Plaintiffs have failed to plead any element

 required to show aiding and abetting liability.

            II.     Plaintiffs’ ATA Conspiracy Claims Fail

        Plaintiffs’ ATA conspiracy claims also fail. Having conceded the absence of a common

 goal to facilitate a terrorist attack, as the ATA requires, Opp 25-26; MTD 29-30, Plaintiffs ask this

 Court to adopt case law holding that a conspiracy claim can be founded on a common objective to

 “provide material support to an FTO.” Opp 25-26. That case law, however, does not exist: even

 the cases cited in Plaintiffs’ opposition require a shared goal to provide “material support for


 7
  Plaintiffs’ only answer to this temporal barrier is to speculate that, due to UNRWA and UNRWA
 USA’s affiliation, the latter “likely had access to more information than the public did regarding
 UNRWA’s various affiliations with [Hamas].” Opp. 14. This is weak grounds for a fishing
 expedition: the notion that UNRWA USA—a small charity with no presence in Gaza and an
 independent staff—knew more about UNRWA than the US Government (which audited
 UNRWA), the Israel government (which was privy to UNRWA’s staff lists and is not alleged to
 have lodged objections prior to October 7), and the 72 governments that repeatedly re-authorized
 UNRWA contributions defies credulity.
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 terrorism”—not merely general assistance to an FTO. Kemper v. Deutsche Bank AG, 911 F.3d

 383, 395 (7th Cir. 2018) (emphasis in original); Shaffer v. Deutsche Bank AG, 2017 U.S. Dist.

 LEXIS 220198, at *14 (S.D. Ill. Dec. 7, 2017) (same).8

        Even if Plaintiffs’ characterization of the law were correct, its conspiracy claim would still

 fail because they only allege that the provision of material support was a foreseeable consequence

 of UNRWA USA’s aid, not a common objective. MTD 30. But not only do Plaintiffs fail to draw

 any ties between UNRWA USA’s support and the October 7 attack, or plead any facts showing

 that UNRWA USA’s objective was anything other than providing humanitarian aid to Palestinian

 refugees, they fail to reckon with the case law holding that foreseeability is no substitute for

 pleading an agreed-upon, unlawful objective. Freeman ex rel. Est. Freeman v. HSBC Holdings

 PLC, 57 F.4th 66, 82 (2d Cir. 2023); Kemper, 911 F.3d at 395 (bank’s indifference to the

 possibility that its Iranian customers would use funds to further “terroristic” ends is insufficient

 because “one cannot join a conspiracy through apathy”). Plaintiffs simply fail to allege that

 UNRWA USA agreed with anyone to participate in an illegal act.

            III.        Plaintiffs’ Alien Tort Statute Claims Fail

        Plaintiffs’ ATS claims first fail because the Complaint fails to state a claim that triggers

 ATS jurisdiction. Plaintiffs assert that “UNRWA USA’s funding of UNRWA—knowing that

 UNRWA and Hamas are intertwined—violated international law norms.” Opp. 32. But Plaintiffs

 cannot demonstrate that such conduct either violates a treaty that confers a private right of action



 8
   While Freeman v. HSBC Holdings, 2018 U.S. Dist. LEXIS 127289, at *75 (E.D.N.Y. July 27,
 2018), contains language that the common objective need not be the commission of a terrorist
 attack, that case is an outlier, see Kaplan v. Lebanese Canadian Bank, SAL, 405 F. Supp. 3d 525,
 534 (S.D.N.Y. 2019) (JASTA conspiracy requires “agreement to commit an act of international
 terrorism”), vacated in part on other grounds, 999 F.3d 842 (2d Cir. 2021); MTD 29, n.33, and
 the Second Circuit expressly declined to adopt the district court’s analysis of the conspiracy claim.
 Freeman, 57 F.4th at 72.
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 or constitutes a violation of customary international law sufficiently “specific, universal, and

 obligatory” to support a claim under the ATS. Sosa v. Alvarez-Machain, 542 U.S. 692, 732 (2004);

 MTD 32.

         The norm proposed by Plaintiffs—that funding an entity that is intertwined with an FTO

 is prohibited by international law, Opp. 32—lacks any support, including in the International

 Convention for the Suppression of the Financing of Terrorism (“Financing Convention”) upon

 which Plaintiffs rely. The Financing Convention defines the offense as “unlawfully and wilfully”

 providing “funds with the intention that they should be used or in the knowledge that they are to

 be used, in full or in part, in order to carry out” the terrorist act. Financing Convention, art. 2. Just

 as funding an entity intertwined with an FTO does not constitute an aiding and abetting violation

 under the ATA as a matter of law, see supra Sections I.A., I.B., it also does not assert a violation

 under the Financing Convention, which requires at least knowledge that provided funds will be

 used to carry out a terrorist act. The Financing Convention therefore provides no support for

 Plaintiffs’ proposal that funding an entity intertwined with an FTO violates an international law

 norm.

         Even if Plaintiffs had asserted an international law norm supported by the Financing

 Convention, it is not one that is cognizable under the ATS. The Financing Convention does not

 confer rights that are enforceable under the ATS—it is not a self-executing treaty, it does not create

 a private right of action, and it does not create customary international law.9 See MTD 32-34.

 Neither Kadic v. Karadzic, 70 F.3d 232 (2d Cir. 1995), nor Licci v. Lebanese Canadian Bank, SAL,

 834 F.3d 201 (2d Cir. 2016), suggests otherwise. Opp. 33-34. In those cases, the Second Circuit



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  Plaintiffs’ assertion that UNRWA USA “violat[ed] the Financing Convention,” Opp. 27, 30,
 betrays their misunderstanding of international law; the “Convention imposes its obligations only
 on nation-states.” Jesner v. Arab Bank, PLC, 584 U.S. 241, 261 (2018).
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 relied on the customary international law norm prohibiting genocide—not the Convention on the

 Prevention and Punishment of the Crime of Genocide—in allowing the plaintiffs’ ATS claims to

 proceed. 70 F.3d at 241-43; 834 F.3d at 212-13. Plaintiffs here have failed to establish a customary

 international norm prohibiting the financing of terrorism. Instead, they postulate that the Financing

 Convention became customary international law some time around 2018 when 80% of the nations

 ratified it. Opp. 33, n.9. But Plaintiffs ignore the multitude of reservations that were attached to

 the ratifications. MTD 34, n.39; Vietnam Ass'n for Victims of Agent Orange v. Dow Chem. Co.,

 517 F.3d 104, 118 (2d Cir. 2008) (reservations foreclosed finding that the “1925 Geneva Protocol

 had acquired the status of binding customary international law during the Vietnam War”).10

        Plaintiffs’ rejoinder—that there is no State in which terrorism is allowed, Opp. 33—

 confuses domestic and customary international law. “The near-universal domestic criminalization

 of certain conduct is insufficient” to establish that the conduct violates a cognizable norm under

 the ATS; instead, the key determinant is whether there is “universal jurisdiction over the

 commission of that crime.” Abu Nahl v. Abou Jaoude, 968 F.3d 173, 186 (2d Cir. 2020) (Walker,

 J., concurring). But there is no “State practice or evidence of opinio juris suggesting that terrorist

 financing is an international crime or otherwise subject to universal jurisdiction.” Id. at 187;11 see

 generally id. at 184-90 (surveying State practice and determining that it is “not open for debate”

 that “a prohibition on terrorist financing has [not] passed into international law”). Plaintiffs

 strenuously object that Hamas’s acts of terrorism must violate international law. Opp. 32. But the




 10
    Plaintiffs misrepresent the nature of those reservations, several of which provide that the State
 does “not consider acts of national resistance in all its forms, including armed resistance against
 foreign occupation and aggression with a view to liberation and self-determination, as terrorist acts
 within the meaning of article 2, paragraph 1, subparagraph (b), of the Convention.” MTD 34, n.39.
 11
    Opinio juris refers to “States’ beliefs about their legal obligations.” Id.
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 question is not whether Hamas’s actions were illegal, but whether financing terrorism is actionable

 under the ATS. Courts have consistently answered that question in the negative.12

        Even if there were a “specific, universal, and obligatory” norm against financing terrorism,

 courts must then determine “whether allowing this case to proceed under the ATS is a proper

 exercise of judicial discretion.” Jesner, 584 U.S. at 258. It is not. See id. at 262 (Kennedy, J.,

 concurring, joined by Roberts, C.J. and Thomas, J.) (detailed Congressional regulatory regimes

 like the ATA weigh against finding a common-law cause of action for financing terrorism under

 the ATS); Nahl, 968 F.3d at 181 (refusing to recognize an ATS cause of action for financing

 terrorism based on prudential concerns).

        Finally, Plaintiffs’ ATS claims fail to state an aiding and abetting claim, as argued above.

 See supra Section I.A. Plaintiffs fail to allege that any aid from UNRWA USA reached Hamas,

 much less that it had “a substantial effect on [the October 7 attack],” as is required to satisfy the

 actus reus requirement. Doe v. Cisco Sys., Inc., 73 F.4th 700, 724 (9th Cir. 2023). As for whether

 the assistance must be “purposeful” or merely “knowing,” Plaintiffs have failed to plead either, for

 all the reasons explained above.

            IV.     Plaintiffs’ NIED Claims Fail

        Plaintiffs’ arguments in defense of the NIED claims scarcely warrant a response. They do

 not cite any authority for the proposition that a donor to a humanitarian organization (much less

 one subject to UNRWA’s intense international scrutiny) has a duty to ensure that its funds are not

 diverted by militant groups. And while they half-heartedly assert that Hamas would have been



 12
   Plaintiffs misplace reliance on Nahl v. Jaoude, 354 F. Supp. 3d 489, 498 (S.D.N.Y. 2018), rev'd
 and remanded, 968 F.3d 173 (2d Cir. 2020) and Almog v. Arab Bank, PLC, 471 F. Supp. 2d 257,
 278 (E.D.N.Y. 2007) dismissed sub nom. In re Arab Bank PLC Alien Tort Litigation, 808 F.3d.
 144 (2d Cir. 2015)—each are district court opinions that were reversed on other grounds, and
 expressed a view that has not been accepted by any other court.
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 “burdened in their efforts” without UNRWA USA’s funds, Opp. 35, they prudently stop short of

 arguing that Hamas would have been unable to launch the October 7 attacks “but for” UNRWA

 USA’s provision of one-third of 1% of UNRWA’s operating budget.

             V.      Judicial Notice Is Appropriate

         While dismissal is clearly warranted without looking past the four corners of the

 Complaint, the judicially noticeable record confirms that Plaintiffs’ claims are utterly baseless. A

 key purpose of judicial noticeability is to prevent a plaintiff from using “selected and misleading

 portions” of the public record to pursue harassment litigation and extract “nuisance settlements,”

 Kramer v. Time Warner, Inc., 937 F.2d 767, 774 (2d Cir. 1991)—in short, to prevent suits like this

 one. Plaintiffs’ objections to the request for judicial notice are meritless.

         Plaintiffs’ argument that UNRWA USA was required to file a “separate motion” for

 judicial notice lacks any support in law. Courts may take judicial notice of a fact “not subject to

 reasonable dispute” without any application. Fed. R. Evid. 201(b), (c)(1). And while a “request”

 is required to trigger mandatory judicial notice, the rules only require the requesting party to supply

 the court with “the necessary information” to determine the absence of a reasonable dispute. Fed.

 R. Evid. 201(c). Plaintiffs do not identify any “necessary information” missing from the request

 for judicial notice, nor do they explain why a separate motion is necessary for them to “lodge an

 appropriate objection.” Opp. 3.

         Next, Plaintiffs argue that courts are barred as a matter of law from noticing a fact for the

 truth of the matter asserted. Opp. 4. But where the accuracy of the fact is beyond reasonable

 dispute, a court will judicially notice the fact for the truth of the matter asserted.13 See, e.g., FTC


 13
   None of Plaintiffs’ cases are to the contrary. In Victaulic Co. v. Tieman, the court refused to take
 judicial notice of a website purporting to be that of a private business because it was unclear who
 created the website and because its contents were “full of imprecise puffery that no one should
 take at face value.” 499 F.3d 227, 236 (3d Cir. 2007). In Anspach v. City of Philadelphia, 503 F.3d
                                                   11
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 v. Shire ViroPharma, Inc., 917 F.3d 147, 151 n.5 (3d Cir. 2019) (noticing truth of uncontested

 statements in SEC filing); Daniels-Hall v. Nat'l Educ. Ass'n, 629 F.3d 992, 998-99 (9th Cir. 2010)

 (noticing contents of government website where “neither party disputes the authenticity of the web

 sites or the accuracy of the information displayed therein”). In particular, courts routinely credit

 the truth of facts contained in governmental reports where the opposing party does not dispute the

 accuracy of those facts. See MTD 4.14 And courts are obligated to take judicial notice of the truth

 of facts pertaining to “matters of political history,” Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir.

 1997), and “compacts, statutes, and regulations not included in the plaintiff's complaint.” Nation

 v. DOI, 876 F.3d 1144, 1153 n.3 (9th Cir. 2017).15

        Plaintiffs do not contest the authenticity16 or reliability of the documents containing the

 facts as to which UNRWA USA seeks judicial notice, nor do they dispute the accuracy of those

 facts. Instead, they raise a handful of cursory, meritless objections.


 256, 273 n.11 (3d Cir. 2007), the Third Circuit judicially noticed only the existence of an FDA
 announcement because its truth was irrelevant, not because of some categorical prohibition against
 judicially noticeability of facts for the truth of the matter. And in Collins & Aikman Corp. v.
 Stockman, 2009 U.S. Dist. LEXIS 43472, at *69-70 (D. Del. May 20, 2009), and In re Viropharma,
 Inc., Sec. Litig., 2003 U.S. Dist. LEXIS 5623, at *5-6 (E.D. Pa. Apr. 3, 2003), the courts declined
 to judicially notice the truth of statements contained in SEC filings because the lawsuits’ core
 theory was that the filings contained misrepresentations.
 14
    See also Reprod. Health Servs. v. Strange, 3 F.4th 1240, 1268 n.11 (11th Cir. 2021) (state agency
 statistics showing percentage of abortions obtained by minors); Williams v. Lew, 819 F.3d 466,
 473 (D.C. Cir. 2016) (facts contained in GAO report); Dimanche v. Brown, 783 F.3d 1204, 1213
 n.1 (11th Cir. 2015) (number of correctional staff in state DOC report); Youkhana v. Gonzales,
 460 F.3d 927, 932 (7th Cir. 2006) (uncontested contents of State Department report).
 15
    See also Gross v. German Found. Indus. Initiative, 549 F.3d 605, 612 (3d Cir. 2008) (“public
 acts and proclamations of [foreign] governments . . . are historical and notorious facts, of which
 the court can take regular judicial notice”); Doe v. Holy See, 557 F.3d 1066, 1091 (9th Cir. 2009)
 (taking judicial notice that Holy See has both “ecclesiastical” and “governmental” functions);
 Garb v. Republic of Poland, 440 F.3d 579, 594 n.18 (2d Cir. 2006) (Poland’s constitutional
 structure); Ivezaj v. INS, 84 F.3d 215, 219 (6th Cir. 1996) (changed political circumstances in
 Montenegro).
 16
    To the extent that Plaintiffs’ fleeting reference to authentication is meant as a challenge, Opp. 3,
 that challenge is meritless: all UNRWA USA’s documents are official records, pulled from
 governmental or UN websites, and bear official insignia. As such, they are self-authenticating. See
                                                   12
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        UNRWA Student Enrollment Numbers. Plaintiffs do not dispute that UNRWA enrolls

 500,000 students per year and, by extension, that millions of students have passed through its

 schools since Hamas’s founding. They do not explain how 118 graduates allegedly joining Hamas,

 out of millions of UNRWA graduates, supports their proposed inference that UNRWA schools are

 a seedbed for Hamas militants; instead, they insist that they are entitled to this inference because

 it is the one most favorable to them. MTD 6. But “determining whether a complaint states a

 plausible claim is context-specific, requiring the reviewing court to draw on its experience and

 common sense” and draw only a “reasonable inference” on a 12(b)(6) motion. Iqbal, 556 U.S. at

 662, 678-79.

        GAO Certifications and US-UNRWA Framework Agreement. Plaintiffs concede the

 judicially noticeable fact that reauthorizations of US contributions to UNRWA were conditioned

 on GAO certifications that UNRWA was meeting the benchmarks set forth in the appropriations

 laws and the US-UNRWA Framework Agreement. MTD 12-15. Their attempts to diminish the

 legal significance of this auditing regime are wholly unconvincing.

        First, they fault UNRWA USA for failing to “provide an affidavit” attesting that it

 monitored GAO certifications. Opp. 6-7. But Plaintiffs’ own allegations obviate the need for an

 affidavit: the Complaint alleges UNRWA USA’s awareness of UN Watch reports, Compl. ¶¶ 112-

 13, which reference the GAO certification process,17 and the Press Release cited in the Complaint



 Fed. R. Evid. 902(5); Sturgeon v. PharMerica Corp., 438 F. Supp. 3d 246, 259 (E.D. Pa. 2020)
 (“information found on government websites is widely considered both self-authenticating and
 subject to judicial notice”); accord Johnson v. Cate, 2015 U.S. Dist. LEXIS 120839, at *26 (E.D.
 Cal. Sep. 10, 2015) (citing cases).
 17
    The Complaint (nn. 54-57) references UN Watch and IMPACT-se, UNRWA Education: Reform
 or Regression? (2023), which, in turn, references (at pg. 4, nn. 22 & 23) a GAO report outlining
 the certification process. See State Has Taken Actions to Address Potentially Problematic
 Textbook Content but Should Improve Its Reporting to Congress, GAO (June 2019), at 4-7,
 https://www.gao.gov/assets/gao-19-448.pdf.
                                                 13
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 confirms that UNRWA USA was aware that UNRWA was required to vet its staff and share its

 staff lists with Israel. MTD 6. In short, the Court need look no further than the documents

 integrated into the Complaint to establish UNRWA USA’s awareness of the rigorous scrutiny

 UNRWA was under.

        Plaintiffs then attempt to sow doubt about the soundness of UNRWA USA’s reliance on

 the audit mechanisms. Their assertion that the GAO certifications only monitored the use of US

 funds is squarely contradicted by the text of the appropriation law, which makes US funding

 contingent on all UNRWA operations complying with auditing benchmarks. MTD 13-14

 (requiring, inter alia, all UNRWA staff to be vetted and undergo neutrality training, all UNRWA

 properties to be inspected for misuse, and all credible allegations of wrongdoing to be

 investigated). And contrary to their argument, UNRWA USA is clearly entitled to rely on the

 oversight mandated by the US-UNRWA Framework Agreement despite not being a party to the

 Agreement.

        Although Plaintiffs may “challenge the quality of those certifications,” Opp. 7, they have

 failed to do so. At best, the Complaint alleges that a vanishingly small fraction of UNRWA’s

 13,000 Gazan employees violated UN neutrality rules; otherwise, the Complaint’s factual

 allegations describe a UN agency that has actively hindered rather than enabled Hamas. In any

 event, the Court need only judicially notice the existence of this audit regime, not its efficacy. To

 state a claim, Plaintiffs must plausibly allege UNRWA USA’s “actual awareness,” based on

 information available prior to October 7, that any support for UNRWA was tantamount to support

 for Hamas’s terrorist operations. MTD 21-22. That total mix of information—which pits

 tendentious criticisms by partisan voices and disreputable NGOs, see MTD 14-15, n.23, against




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 the official determinations of the US Government and the practices of 72 countries—conclusively

 forecloses that inference.

        UNRWA USA’S Press Release and Reports Detailing UN Inspections. The Court may

 consider these documents in full because they are integrated into the Complaint. See MTD 3. The

 full press release—which condemns the attacks, commends the independent investigation,

 highlights UNRWA’s duty to vet staff and notes Israel’s failure to raise objections to the staff lists

 that UNRWA had previously share—directly contradicts Plaintiffs’ theory that UNRWA USA

 harbored anti-Israel sympathies or was apathetic to the possibility that its aid would benefit Hamas.

 Opp. 5; Compl. ¶¶ 115-16.

        The same applies to the documents showing that UNRWA inspected its installations and

 their environs for militant activity. Plaintiffs preposterously claim that the Court must credit the

 fruits of UNRWA’s inspections (i.e., that militants hid weapons in schools and dug tunnels near

 UNRWA facilities) but disregard the role that UNRWA played in those revelations. Opp. 8. Courts

 are permitted to consider documents integral to the complaint for this very reason—to prevent

 plaintiffs from maintaining a claim “by extracting an isolated statement from a document and

 placing it in the complaint, even though if the statement were examined in the full context of the

 document, it would be clear that” no viable cause of action existed. In re Burlington Coat Factory

 Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997). Plaintiffs’ Complaint warrants dismissal on its

 face, even without reviewing documents incorporated by reference, or judicially noticing

 undisputed facts; but the full record lays bare just how meritless Plaintiffs’ claims are.

                                               CONCLUSION

        For these reasons, and for those set forth in the Motion to Dismiss, Plaintiffs’ Complaint

 fails to state any claim against UNRWA USA and should be dismissed with prejudice.


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                                                 Respectfully submitted,



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